Case 17-00471 DOC19 Filed 06/11/18

Page 1 of 2

 

Wendelin I. Lipp U. S. BANKRUPTCY JUDGE

f

PROCEEDING MEMO - ADVERSARY PR

Da

CASE: 17-00471 Rosen et al v. Do

Related: 15-24430 Solena Fuels Corporation

ary Rosen (Plaintl

Paul Sweeney representin ' ' `
Jonathan Lawrence,§§ epresenting Rajeev Sh

William David Da N§Eziesenting Robert T. DO (

[8] Motion to Dismiss Adversary Proceeding Fi
Robert T. Do. [Attachments: #54 Proposed Orde

EILEQ_§X RObert DO BY W Day
[l] Adversary case 17_00471. (13 (Recovery cf
- 548 fraudulent transfer]) Complaint by Paul
on behalf of Gary Rosen against Robert T. Do.
filing fee is DEFERRED _ Plaintiff is the TrL
in the Eankruptcy case and will pay the fee t
extent that there is an estate.

EILED_BI Gary Rosen BY P Sweeney
[9] Opposition on behalf Of Gary Rosen Filed
Sweeney (related document(s) 8 Motion to Disn
Adversary Proceeding filed by Defendant Rober
DO}.

E;LEQ_EX Gary Rosen BY P Sweeney

SCHEDULE:

l.Discovery eutoff: q() C&Yfl§` G:Yretria

(:::Pispositive motions: 7.Trial t

<;>Status report due:

  
 

B.Trial dc

   

Evidentiary Hrg:
Exbibits Filed: Y

JCEEDING

  
     
     
   
   
 

tec 06/11/2018 Time: 02:00
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arma, et al. (P;aintiff)
Defendant
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by Paul
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L memos/exhibits:

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.Motic)ns hrg. date: 2 l @-\O 9. :»cpert witness & Rpts:
5.Final pretrial hrg: 31 O. issue ummons:

DISPOSITI]§NM M.S FWN b 2f1 M' :EFQM_'
Granted_ DeniaH// Withdrawn__ Default___ Consent___ Under Adv.___
Adjourned / Continued to: at m. Notice: YES / NO

FINAL DISPOSITION:

17-004?1:1 Of2

 

Case 17-00471 DOC19 Filed 06/11/18

Judgment for Plaintiff(s}
Judgment for Defendant(s)
Consent

Amount: $

Deoision Reserved
Default / No Response
Show Cause Order

Adjourned / Continued to:

Page 2 of 2

 

 

Withdrawn/
for want of Prosecut
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Soldiers an

Other:

Dismissed/ Deny
ion

ent Order

d Sailors Affidavit Due

 

at

.m. Notice= YEE /No

 

Post Trial Memos Due: Plaintiff:

DECISION:

[ ] igned by Court
To be prepared by:

[ l plaintiff's counsel
[ ] defendant's counsel

NOTES:

Def

[ ] Filed by ouns

Court
[ ] Otber

endant:

 

17-00471:20f2

 

